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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



  Civil Action No.

  JASON HETRICK

         Plaintiff(s),

  v.

  BRANDON P. WOODS, RYDER TRUCK RENTAL, INC., a Florida corporation,
  and KEHE DISTRIBUTORS a/k/a KEHE ENTERPRISES LLC, an Illinois
  corporation,

         Defendant(s).


            DEFENDANTS’ RYDER and KeHE’s NOTICE OF REMOVAL


         COMES NOW the Defendants, Ryder Truck Rental INC., (”Ryder”) and
  KeHE Distributors, (“KeHE”) by and through counsel, The Ross-Shannon Law
  Firm, P.C., and pursuant to 28 U.S.C.A. § 1446, hereby removes the above
  action from the District Court for Baca County, based on the following grounds:

         1.     The above action was filed in the District Court, Baca County,
  Colorado and is now pending in that Court. Process, including a Summons and
  Complaint, and Plaintiff’s District Court Civil Case Cover Sheet for Initial Pleading
  of Complaint, were served on Defendant’s Ryder Truck Rental and KeHE
  Distributors on July 31, 2018.

         2.      The Plaintiff alleges that this action is a civil action involving an
  amount in controversy exceeding $100,000, exclusive of interest and costs.
  Specifically, in Plaintiff’s District Court Civil Case Cover Sheet for Initial Pleading
  of Complaint, Paragraph 2 Plaintiff checked the box stating C.R.C.P. Rule 16.1
  does not apply, because he is seeking over $100,000.

          3.      Moreover, this is a civil action between parties of diverse citizenship
  and for which this Court, has original jurisdiction under 28 U.S.C.A. § 1332.
  Plaintiff is a citizen of the State of Colorado. Defendant Ryder is a citizen of the
  state of Florida, and Defendant KeHE is a citizen of the State of Illinois. No
  change of citizenship has occurred since the commencement of this action.
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          4.     Based upon information and belief, Defendant Brandon P. Woods
  is a resident and citizen of the state of Texas.

          5.    Defendants are entitled to remove the above action from the State
  District Court to the United States District Court pursuant to 28 U.S.C.A. §
  1446(a).

        6.     Copies of all process and pleadings served on Defendants are
  attached and filed with this Notice.

  Dated: August 27, 2018           Respectfully submitted,

                                   /s/ Bradley Ross-Shannon
                                   Bradley Ross-Shannon
                                   Mark J. Gauthier
                                   THE ROSS-SHANNON LAW FIRM, P.C.
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                                   Attorneys for Defendants
                                   Ryder Truck Rental and KeHE Distributors

  Defendant’s Address:

  Ryder Truck Rental
  11690 NW 105th Street
  Miami, FL 22178


  KeHE Distributers
  1245 E. Diehl Road, Suite #200
  Naperville, IL 60563
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                           CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2018, a true and correct copy of the
  foregoing DEFENDANTS’ RYDER and KeHE’s NOTICE OF REMOVAL was
  electronically filed with the Clerk of Court using the CM/ECF system which will
  send notification of such filing to the following:

  A Gary Bell, Jr., Esq.
  Bell & Pollock, P.C.
  5660 Greenwood Plaza Boulevard, Suite 220
  Greenwood Village, CO 80111


                                                Signed original document maintained and
                                                available pursuant to Rule 121

                                                /s/ Carla Carlson
